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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                    www.flsb.uscourts.gov

In re:

YANET JIMENEZ VIVES,                                 Case No.: 22-12754-BKC-AJC
                                                     Chapter 7
         Debtor.
                                     /

            ORDER APPROVING JOINT MOTION TO COMPROMISE CONTROVERSY

         THIS CAUSE came before the Court on the Joint Motion to Compromise Controversy

("Motion") of Barry E. Mukamal, Chapter 7 Trustee [ECF #XX]. The Motion has been served on all

interested parties and creditors, pursuant to the Federal Rules of Bankruptcy Procedure and the

Local Rules of this Court on Negative Notice and the movant by submitting this form of order having

represented that the Motion was served on all necessary parties, that the 21-day response time

provided by that rule has expired, that no one has filed, or served on the movant, a response to the

Motion, and that the form of order was attached as an exhibit to the Motion. This Court, having

reviewed the file and the Motion, find good cause having been shown. It is therefore, ORDERED that

said Motion is GRANTED.




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      1.      The Debtor, Yanet Jimenez Vives ("Debtor"), shall pay to the Trustee the total sum of

$3,700 ("Settlement Amount") for full and final settlement of the estate’s interest in the non-exempt

equity in the 2017 Toyota Corolla. The parties agree to the payment terms outlined in the Motion.

      2.      In the event the Debtor fails to make the settlement payment on a timely basis, the

settlement amount shall be increased to $4,700. The Debtor consents to entry of an ex-parte order

requiring immediate turnover of the unpaid balance of $4,700 and to any further relief the Court may

grant the Trustee to effectuate possession of same.

      3.      In the event the Debtor fails to make the settlement payment, the Trustee has the right

to proceed against any assets of the Debtor including, but not limited to, the property the Debtor

claimed as exempt. The Trustee shall be entitled to interest, which shall accrue at the statutory rate,

attorney's fees and costs.

      4.      Further, in the event of default, the Trustee may file a Motion to Revoke Debtor’s

Discharge. However, no discharge shall be revoked without a hearing.

      5.      The Court incorporates all the terms of the Joint Motion to Compromise Controversy

and retains jurisdiction to enforce the terms therein.

                                                     ###

Submitted By:
Barry E. Mukamal, Trustee
PO Box 14183
Fort Lauderdale, FL 33302
Telephone: (786) 517-5760
bemtrustee@kapilamukamal.com

Copies furnished to:
Barry E. Mukamal, is directed to serve a copy of this Order on interested parties who do not receive service by
CM/ECF and file a proof of such service within two (2) business days from entry of the Order.




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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served (i) via the
Court’s CM/ECF notification to those parties who are registered CM/ECF participants in this case
and (ii) via U.S. Mail on all parties on the attached service list on August 29, 2022.




                                                      __/s/ Jazmin Padilla
                                                      Jazmin Padilla for
                                                      Barry E. Mukamal, Trustee
                                                      PO Box 14183
                                                      Fort Lauderdale, FL 33302
                                                      Telephone: (786) 517-5760
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Label Matrix for local noticing                       Synchrony Bank                                       World Omni Financial Corp.
113C-1                                                PRA Receivables Management, LLC                      Tripp Scott, PA
Case 22-12754-AJC                                     PO Box 41021                                         c/o H Michael Solloa, Jr
Southern District of Florida                          Norfolk, VA 23541-1021                               110 SE 6 St, 15 Floor.
Miami                                                                                                      Ft. Lauderdale, FL 33301-5004
Mon Aug 29 13:11:33 EDT 2022
Andrue, Palma, Lavin & Solis                          (p)BANK OF AMERICA                                   Bank of America, N.A.
887 Donald Ross Road                                  PO BOX 982238                                        PO Box 673033
Juno Beach, FL 33408-1611                             EL PASO TX 79998-2238                                Dallas, TX 75267-3033



Capital One Bank                                      Cavalry SPV I, LLC                                   (p)DSNB MACY S
Po Box 30281                                          PO Box 4252                                          CITIBANK
Salt Lake City, UT 84130-0281                         Greenwich, CT 06831-0405                             1000 TECHNOLOGY DRIVE MS 777
                                                                                                           O FALLON MO 63368-2222


Discover Financial                                    (p)MOHELA                                            Midland Fund
Attn: Bankruptcy                                      CLAIMS DEPARTMENT                                    Attn: Bankruptcy
Po Box 3025                                           633 SPIRIT DRIVE                                     350 Camino De La Reine, Suite 100
New Albany, OH 43054-3025                             CHESTERFIELD MO 63005-1243                           San Diego, CA 92108-3007


NBT Bank National Association                         Office of the US Trustee                             Pennstar Bank/NBT Bank
52 South Broad Street                                 51 S.W. 1st Ave.                                     Attn: Bankruptcy
Norwich, NY 13815-1699                                Suite 1204                                           Po Box 351
                                                      Miami, FL 33130-1614                                 Norwich, NY 13815-0351


(p)PORTFOLIO RECOVERY ASSOCIATES LLC                  Rausch Strum LLP                                     Southeast Toyota
PO BOX 41067                                          Attorney Carolina A. Corona-Jamiel                   Po Box 991817
NORFOLK VA 23541-1067                                 100 Second Ave. South                                Mobile, AL 36691-8817
                                                      Ste. 306S
                                                      Saint Petersburg, FL 33701-6307

Synchrony Bank                                        Synchrony Bank                                       Barry E Mukamal
Attn: Bankruptcy Dept                                 Po Box 960061                                        PO Box 14183
Po Box 965064                                         Orlando, FL 32896-0061                               Fort Lauderdale, FL 33302-4183
Orlando, FL 32896-5064


Raquel Natalia Leon                                   Yanet Jimenez Vives
3785 NW 82 Ave # 417                                  5181 NW 5th Street
Doral, FL 33166-6632                                  Miami, FL 33126-5001




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America                                       Department Store National Bank/Macy’s                MOHELA
Attn: Bankruptcy                                      Attn: Bankruptcy                                     Attn: Bankruptcy
Po Box 982234                                         9111 Duke Boulevard                                  633 Spirit Drive
El Paso, TX 79998                                     Mason, OH 45040                                      Chesterfield, MO 63005
                                 Case 22-12754-CLC               Doc 35          Filed 08/29/22     Page 8 of 8
Portfolio Recovery Associates, LLC
Attn: Bankruptcy
120 Corporate Boulevard
Norfolk, VA 23502




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                             End of Label Matrix
                                                     Mailable recipients    22
                                                     Bypassed recipients     1
                                                     Total                  23
